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 7                                 UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF WASHINGTON
 8                                          AT SEATTLE

 9     SOLOMON WILLIAMS, et al.,
                                                                  No. C98-761P
10
                                Plaintiffs,
                                                                  FINDINGS OF FACT AND
11               v.                                               CONCLUSIONS OF LAW ON
                                                                  DISPARATE IMPACT CLAIM
12
       THE BOEING COMPANY, et al.,
13
                                Defendants.
14

15              In this class action, Plaintiffs allege that the Boeing Company has engaged in a pattern or

16    practice of race discrimination in promotions against African-Americans in violation of Title VII

17    of the Civil Rights Act of 1964 and 42 U.S.C. § 1981. Plaintiffs allege both disparate treatment

18    and disparate impact claims. The certified class includes African-American salaried employees

19    employed by “Heritage Boeing”1 from June 6, 1994 to the present, excluding executives and

20    certain technical workers, seeking injunctive relief for racial discrimination in promotions.

21              This matter was tried from December 5, 2005 to December 19, 2005. Plaintiffs’ Section

22    1981 and disparate treatment claims were tried to a jury, while the disparate impact claim was

23    tried to the Court. The jury rendered a verdict in favor of Defendant on December 21, 2005.

24              Plaintiffs’ disparate impact claim is based on allegations that Boeing had facially neutral

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            1
             “Heritage Boeing” refers to the Boeing Company before it acquired additional
26
     companies in the late 1990s and 2000.
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 1   employment practices that caused a significant disparate impact on members of the class with

 2   respect to promotions. Unlike a disparate treatment claim, Plaintiffs are not required to prove

 3   intentional discrimination in order to prevail on a disparate impact claim. As a result, the jury’s

 4   verdict in favor of Defendant does not foreclose Plaintiffs’ disparate impact claim.

 5          Having considered the testimony and evidence admitted at trial and the arguments of

 6   counsel, the Court finds that Plaintiffs have not proved their disparate impact claim by a

 7   preponderance of the evidence. Therefore, judgment on this claim will be entered in favor of

 8   Defendant.

 9                                         Framework for Analysis

10          A plaintiff seeking to establish a prima facie case of disparate impact must:

11          (1) show a significant disparate impact on a protected class or group; (2) identify the
            specific employment practices or selection criteria at issue; and (3) show a causal
12          relationship between the challenged practices or criteria and the disparate impact.

13   Hemmings v. Tidyman’s Inc., 285 F.3d 1174, 1190 (9th Cir. 2002). The Civil Rights Act of

14   1991 also provides that “if the complaining party can demonstrate to the court that the elements

15   of a respondent’s decisionmaking process are not capable of separation for analysis, the

16   decisionmaking process may be analyzed as one employment practice.” 42 U.S.C. § 2000e-

17   2(k)(1)(B)(i).

18                                             Findings of Fact

19          1.        Plaintiffs have not demonstrated that the elements of Boeing’s decisionmaking

20   process are not capable of separation for analysis.

21          2.        Plaintiffs identified several employment practices in their proposed findings of fact

22   and conclusions of law that allegedly caused a disparate impact on class members with respect to

23   promotions: (1) subjective decision-making in the promotion process; (2) unstructured interview

24   processes; (3) failure to monitor for adverse impact of promotion processes; and (4) failure to

25   maintain an applicant tracking system. (Dkt. No. 1029 at 26-28).

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 1                                     Employment Practices at Issue

 2           3.      The Court finds that Boeing did not have an undisciplined system of subjective

 3   decision-making in promotions. Plaintiffs introduced evidence that there has been a degree of

 4   subjectivity in decision-making regarding promotions at Heritage Boeing during the class period.

 5   In general, the company placed significant discretion regarding promotion decisions at the level

 6   of the individual employee’s manager. However, Boeing also had written promotion guidelines

 7   in place during the class period, as well as policies that permitted an employee who believed that

 8   he or she was denied a promotion to complain to the company’s Equal Employment Opportunity

 9   organization, which could initiate investigations and provide for corrective action where

10   warranted. Therefore, while there was a degree of subjectivity in decision-making regarding

11   promotions, the system was not excessively subjective.

12           4.      Boeing did not have a policy that required the use of “structured interviews”

13   during the class period; that is, managers were not required to identify questions in advance of an

14   interview and to ask the same set of questions to all candidates for a job or promotion.

15   However, structured interviews were used at Boeing in some situations during the class period.

16           5.      Boeing did not consistently monitor the effects of its promotions policies on

17   African-Americans during the entire class period.

18           6.      Boeing did not consistently maintain an accurate applicant tracking system during

19   the entire class period.

20                                            Disparate Impact

21           7.      To attempt to gauge disparities in promotions between class members and

22   similarly-situated Caucasian employees during the class period, Plaintiffs offered statistical

23   analyses by Janice Fanning Madden, Ph.D., while Defendant offered an analysis by Michael

24   Ward, Ph.D.

25           Promotions Data

26           8.      In the earlier part of the class period, Boeing’s data system used a series of 77

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 1   “transaction codes” to capture transfer or reclassification transactions. These codes were input

 2   by or at the direction of human resources employees who reviewed the transaction paperwork

 3   and selected the code that they believed was appropriate for the transaction. The multiple codes

 4   were subject to the interpretations of individual human resources employees and the transaction

 5   codes were not designed to match the subjective beliefs of the managers and employees involved.

 6   As a result, these transactions codes did not necessarily identify transfers that employees or

 7   managers would have regarded as “promotions.”

 8          9.      In 2001, Boeing introduced a new data marker called the “Prom_Ind” indicator.

 9   This indicator is a “Y/N” marker in a specific data field, with “Y” indicating a “promotion.”

10   Boeing attempted to “push back” the “Prom_Ind” indicator through its historical data to mark

11   promotions that had occurred before the indicator was adopted in 2001. However, this effort did

12   not consistently “push back” the “Prom_Ind” indicator to mark job actions that may have

13   constituted promotions before 2001.

14          10.     In 2002, Boeing adopted a new data rule that specified the precise circumstances

15   under which a promotion would be indicated. The criteria adopted in 2002 for marking

16   promotions are not the same as the criteria that had been used before to indicate promotions.

17          11.     The Court finds that Boeing did not use one consistent method to indicate in its

18   data files when an employee had received a promotion during the entire class period. Boeing’s

19   methods of attempting to mark when a promotion had occurred changed over the class period

20   and were based on different criteria.

21          12.     The named Plaintiffs testified to various criteria that they subjectively used to

22   identify a promotion. These criteria include greater opportunities, more responsibility, or better

23   pay. No consistent definition of the term “promotion” was ever put forth and no consistent data

24   collection capture these varying concepts.

25          13.     The Court does not regard the “Prom_Ind” indicator as a consistent or accurate

26   data marker for promotions at Heritage Boeing during the entire class period, particularly for the

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 1   period before 2001.

 2          Dr. Madden’s Analyses

 3          14.     Dr. Madden performed a multiple pools analysis, as well as probit regression

 4   analyses, to attempt to assess disparities in promotions between class members and similarly-

 5   situated Caucasian employees. Based on her analyses, Dr. Madden concluded there was a

 6   statistically significant disparity between the promotion rates of class members and similarly-

 7   situated Caucasian employees at Heritage Boeing between 1995-2004.

 8          15.     The Court does not find Dr. Madden’s analyses to be persuasive. In conducting

 9   her analyses, Dr. Madden relied exclusively on the “Prom_Ind” indicator to determine when

10   promotions had occurred. Because the “Prom_Ind” indicator was not always an accurate or

11   consistent measure of when a promotion had actually occurred, Dr. Madden’s use of this

12   indicator negatively impacts the reliability of her analyses. Although Dr. Madden relied on a data

13   indicator that Boeing itself had developed, the fact that Boeing developed the “Prom_Ind”

14   indicator does not prove that the indicator is accurate. In particular, Boeing was not able to

15   consistently and accurately “push back” the “Prom_Ind” indicator in its data files to mark

16   promotions that had occurred prior to the introduction of the indicator in 2001.

17          16.     Dr. Madden’s multiple pools and regression analyses also do not necessarily

18   compare promotions for similarly-situated employees. The multiple pools constructed by Dr.

19   Madden tend to group together employees with dissimilar circumstances and locations.

20   Similarly, the job aggregation groups utilized by Dr. Madden in her regression analyses tend to

21   group together employees with dissimilar circumstances who would not have been candidates for

22   similar promotions.

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 1          Dr. Ward’s Analysis

 2          17.     Dr. Ward’s analysis used “career growth,” measured by salary progress, as a

 3   proxy for promotion. Dr. Ward employed this “career growth” methodology because he

 4   concluded that the “Prom_Ind” indicator was not sufficiently accurate to use in measuring

 5   promotions. Dr. Ward constructed employee cohorts matching class members to the Caucasian

 6   employees who started at the same time in the same job in the same state with a comparable

 7   salary, and then tracked those cohorts over time. In general, Dr. Ward’s results do not show a

 8   statistically significant disadvantage to the class members with respect to their “career progress,”

 9   as measured by salary growth.

10          18.     The Court finds Dr. Ward’s analysis to be more probative than Dr. Madden’s. To

11   be sure, Dr. Ward’s analysis is imperfect because it analyzes “career growth” in terms of salary,

12   rather than discrete acts of promotion. An employee who receives a salary increase does not

13   necessarily receive a promotion, while all promotions do not come with an increase in salary.

14   Nonetheless, Dr. Ward’s analysis provides some evidence of how the careers of class members

15   progressed compared to similarly-situated Caucasian employees.

16          Conclusion

17          19.     The Court finds that Plaintiffs have not demonstrated a significant disparate

18   impact for class members with respect to promotions. Plaintiffs’ evidence of disparate impact is

19   based on Dr. Madden’s analyses, which the Court does not find persuasive.

20                                                Causation

21          20.     The Court finds that Plaintiffs have not demonstrated a causal link between any of

22   the specific employment practices identified and any alleged disparate impact on class members in

23   terms of promotions. Neither Dr. Madden’s analyses nor other evidence introduced at trial

24   provided such a connection.

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 1                                           Conclusions of Law

 2           1.      The beginning of the liability period for Plaintiffs’ disparate impact claim is July

 3   1997. It should be noted that Boeing states that the disparate impact claim relates to the time

 4   period from July 1997 to present, while Plaintiffs assert that the liability period runs from August

 5   10, 1997 to present. Given the minor difference in the parties’ positions, the Court uses the

 6   earlier date.

 7           2.      Plaintiffs must satisfy the following elements to establish a prima facie case of

 8   disparate impact under Title VII:

 9           (1) show a significant disparate impact on a protected class or group; (2) identify the
             specific employment practices or selection criteria at issue; and (3) show a causal
10           relationship between the challenged practices or criteria and the disparate impact.

11   Hemmings v. Tidyman’s Inc., 285 F.3d 1174, 1190 (9th Cir. 2002).

12           3.      Based on the findings of fact set forth above, the Court concludes that Plaintiffs

13   have not established a prima face case of disparate impact. Plaintiffs have not proved by a

14   preponderance of the evidence that there was a significant disparate impact on class members

15   with respect to promotions during the liability period. Plaintiffs also have not demonstrated a

16   causal connection between any specific employment practices and any alleged disparate impact.

17   Therefore, judgment on the disparate impact claim will be entered in favor of Defendant.

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19           The clerk is directed to send copies of this order to all counsel of record.

20           Dated: January 17, 2006.

21

22                                                  s/Marsha J. Pechman
                                                    Marsha J. Pechman
23                                                  United States District Judge

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